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                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT FOR
                         THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

D. S.,                                                 )
                                                       )
         Plaintiff,                                    )
                                                       )
v.                                                     ) Case No.: 2:20-cv-02012-RDP
                                                       )
JEFFERSON DUNN, et al.                                 )
                                                       )
         Defendants.                                   )

              FACILITY DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                          THIRD AMENDED COMPLAINT

         COME NOW Defendants Carl Sanders, Gary Malone, Kevin White, Carla Graham,

Angelia Gordy, William Ragsdale, Neketris Estelle, Gerald McMillian, Christopher Boyd, Lisa

Bonner, William McLemore, and Tanya Ary (“Facility Defendants”) and submit this Motion to

Dismiss Plaintiff’s Third Amended Complaint pursuant to Federal Rule of Civil Procedure

12(b)(1) and 12(b)(6). Plaintiff’s Third Amended Complaint (Doc. 134) is due to be dismissed on

the following grounds:

         1.      This action represents an impermissible attempt to avoid sovereign immunity.

         2.      The Facility Defendants are entitled to qualified immunity.

         3.      Counts II through VIII fail to allege actionable violations of the Eighth

Amendment.

         4.      Count IX fails to allege that Facility Defendants Estelle, Gordy, or Ary knowingly

exposed Plaintiff to an enemy during his post-assault segregation.

         5.      Count X fails to state a plausible claim for § 1983 civil conspiracy and is barred by

the intracorporate conspiracy doctrine.
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       6.      Count XI does not state an actionable § 1983 failure to intervene claim because it

does not allege that a state actor used force against Plaintiff, or that any Facility Defendant failed

to intervene in such a use of force.

       7.      Plaintiff’s state law claims (Count XII and Count XIII) are barred by state-agent

immunity.

       8.      Count XII fails to allege conduct on the part of any Facility Defendant that is so

“extreme and outrageous” to give rise to the tort of outrage.

       In addition to the above-stated grounds for this motion, Facility Defendants adopt and

incorporate herein all grounds for dismissal of the Third Amended Complaint asserted by other

defendants.

       Facility Defendants are filing contemporaneously Facility Defendants’ Initial Submission

in Support of Motion to Dismiss Plaintiff’s Third Amended Complaint.

       Respectfully submitted on this 22nd day of December, 2021.

                                       /s/ Robert F. Northcutt
                                       ROBERT F. NORTHCUTT (ASB-9358-T79R)
                                       C. RICHARD HILL, JR. (ASB-0773-L72C)
                                       JAMES N. WALTER, JR. (ASB-2722-R68J)
                                       W. JACKSON BRITTON (ASB-8252-K46Y)

                                       Attorneys for Defendants Carl Sanders, Gary Malone,
                                       Kevin White, Carla Graham, Angelia Gordy, William
                                       Ragsdale, Neketris Estelle, Gerald McMillian, Christopher
                                       Boyd, Lisa Bonner, William McLemore, and Tanya Ary

CAPELL & HOWARD, P.C.
150 S. Perry Street (36104)
PO Box 2069
Montgomery, AL 36102-2069
Phone (334) 241-8000
Email: bob.northcutt@chlaw.com
       rick.hill@chlaw.com
       jimmy.walter@chlaw.com
       jackson.britton@chlaw.com


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                              CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of December, 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to all counsel of record as indicated below:

Ruth M. Brown
Megan Pierce
LOEVY & LOEVY
311 N. Aberdeen, 3rd Floor
Chicago, IL 60607
ruth@loevy.com
megan@loevy.com

Anil A. Mujumdar
DAGNEY JOHNSON LAW GROUP
2170 Highland Avenue, Suite 250
Birmingham, AL 35205
anil@dagneylaw.com

William R. Lunsford
Stephen C. Rogers
Matthew B. Reeves
MAYNARD COOPER & GALE, PC
655 Gallatin Street
Huntsville, AL 35801
blunsford@maynardcooper.com
srogers@maynardcooper.com
mreeves@maynardcooper.com

Stephanie Lynn Dodd Smithee
ALABAMA DEPARTMENT OF CORRECTIONS
LEGAL DIVISION
301 S. Ripley Street
Montgomery, AL 36104
stephanie.smithee@doc.alabama.gov


                                          /s/ James N. Walter, Jr.
                                          Of Counsel




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